             Case 1-18-42719-ess                             Doc 1            Filed 05/10/18           Entered 05/10/18 11:21:20



 Fill in this information to identify your case:

                                                                                                               'CL"ERi            .       ,
 United States Bankruptcy Court for the:
                               Nt1w, York
                                                                                                       us BANKRUPTCY comn
 e;;1stanbistrictof                                                                                    · ·EASTERH OlSTRICT OF
                                                                                                        -     HEW YORK ·
 Case number (If known):   ___________                                 Chapter you are filing under:
                                                                       D
                                                                       D
                                                                           Chapter7
                                                                           Chapter 11
                                                                                                       ·101s MAY IO A \O: Lil»
                                                                       D   Chapter 12
                                                                       ~ Chapter13                                                            D   Check if this is an
                                                                                                            RECEIVED                              amended filing


Official Form 101
Volu.ntary Petition for Individuals Filing for Bankruptcy                                                                                                               12/17 -

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together-called a
joint case-and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, "Do you own a car,"
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and t_he other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.
                                      f


            Identify Yourself

                                          About Debt~r-1:                                                    About Debtor 2 (Spouse Only in a Joint Case):
1. Your full name

     WriW the name that is on your        Ve-r:len
     government-issued picture
                                          First name                                                          First name
     identification (for example,
     your driver's license or
     passport).                           Middle name                                                        Middle name

     Bring your picture                   Kin~
                                          Last na                                                             Last name
     identification to your meeting
     with the trustee.
                                          Suffix (Sr., Jr., II, Ill}                                         Suffix (Sr., Jr., II, Ill)




2.   All other names you
     have used in the last 8              First name                                                          First name
     years
     Include your married or              Middle name                                                         Middle name
     maiden names.
                                          Last name                                                           Last name



                                          First name                                                          First name


                                          Middle name                                                         Middle name


                                          Last name.                                                          Last name




     Only the last 4 digits of
3.
     your Social Security
                                          XXX           xx -      l_ ~ -2._ __3                               XXX          XX -       _ _ _ _ _ _ __

     number or federal                    OR                                                                  OR
     lndividual'Taxpayer
     Identification number                9xx -         xx                                                    9xx-xx
     (ITIN)

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Debtor 1          Verlene                                            King                               Case number (if known),_ _ _ _ _ _ _ _ _ _ _ _ _ __
                 First Name   Middle Name                Last Name




                                            Aboiit Debtor 1:                                                About Debtor 2 (Spouse Only in a Joint Case):


4.    Any business names
      and Employer                          JP I have not used any business names·or EINs.                  D      I have not used any business names or EINs.
      Identification Numbers
      (EIN) you have used in
      the last 8 years                      Business name                                                   Business name

      Include trade names and
      doing business as names
                                            Business name                                                   Business name


                                            -- - -------                                                    -   -        - -------
                                            EIN                                                             EIN


                                            -   -       - -------                                           -- - --·-----
                                            EIN                                                             EIN




5.    Where you live                                                                                        If Debtor 2 lives at a different address:

                                              163 Adelphi                   Street
                                            Number          Street                                          Number.         Street




                                              Brooklyn                  New York              11205
                                            City                                     State   ZIP Code       City                                     State    ZIP Code

                                              Kings
            •.                              County                                                          County

                                            If your mailing address is different from the one               If Debtor 2's mailing address is different from
                                            above, fill it in here. Note that the court will send           yours, fill it in here. Note that the court will send
                                            any notices to you at this mailing address .                    any notices to this mailing address.
                 .
                                            Number          Street                                          Number          Street



                                            P.O. Box                                                        P.O. Box


                                            City                                     State   ZIP Code       City                                     State    ZIP Code




6.    Why you are choosing                  Check one:                                                      Check one:
      this district to file for
      bankruptcy
                                            ~ Over the last 180 days before filing this petition,           D      Over the last 180 days before filing this petition,
                                              I have lived in this district longer than in any                     I have lived in this district longer than in any
                                              other district.                                                      other district.

                                            D      I have another reason. Explain.                          D      I have another reason. Explain.
                                                   (See 28 u.~.c. § 1408.)                                         (See 28 U.S.C. § 1408.)




     Official Form 101                                   Voluntary Petition for Individuals Filing for Bankruptcy                                      page 2
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Debtor 1      Verlene                                  King                                           Case number (if k n o w n ~ - - - - - - - - - - - -
                 First Name   Middle Name              Last Name




              Tell the Court About Your Bankruptcy Case


7.    The chapter of the                    Check one. (For a brief description of each, see Notice Required by 11 U.S. C. § 342(b) for Individuals Filing
      Bankruptcy Code you                   for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
      are choosing to file
      under
                                            D     Chapter?

                                            D     Chapter 11

                                            D     Chapter 12

                                            5i)   Chapter 13


s. How you will pay the fee                 D I will pay the entire fee when I file my petition.     Please check with the clerk's office in your
                                                  local court for more details about how you may pay. Typically, if you are paying the fee
                                                  yourself, you may pay with cash, cashier's check, or money order. If your attorney is
                                                  submitting your payment or:i your behalf, your attorney may pay with a credit card or check
                                                  with a pre-printed address.

                                            ~ I need to pay the fee in installments. If you choose this option, sign and attach the
                                              Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                            DI request that my fee-be waived (You may request this option only if you are filing for Chapter 7.
                                                  By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                                  less than 150% of the official poverty line that applies to your family size and you are unable to
                                                  pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                                  Chapter 7 Filing Fee Waived (Official Form 1038) and file it with your petition.



9.    Have you filed for                    DNo
      bankruptcy within the                                        Eastern                          4/20/16                          1-16-41653
      last 8 years?                         ~ Yes.     District                              When                      Case number
                                                                                                     MM/ DD/YYYY

                                                       District                              When                      Case number
                                                                                                     MM/ DD/YYYY

                                                       District                              When                      Case number
                                                                                                     MM/ DD/YYYY



10. Are any bankruptcy                      ~ No
       cases pending or being
       filed by a spouse who is             DYes. Debtor                                                               Relationship to you
       not filing this case with                       District                              When                      Case number, if known
       you, or by a business                                                                         MM/DD /YYYY
      ·partner, or by an
       affiliate?
                                                       Debtor                                                          Relationship to you

                                                       District                              When                      Case number, if known
                                                                                                     MM/DD/YYYY



11.   Do you rent your
                                            ~No. Go to line 12.
      residence?                              Yes. Has your landlord obtained an eviction judgment against you?

                                                       D    No. Go to line 12.
                                                       D    Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
                                                            part of this bankruptcy petition.




     Official Form 101                                 Voluntary Petition for Individuals Filing for Bankruptcy                                   page 3
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Debtor 1     Verkene
              First Name        Middle Name
                                                                 King
                                                         Last Name
                                                                                                          Case number (if known),_ _ _ _ _ _ _ _ _ _ _ _ __




            Report About Any Businesses You Own as a Sole Proprietor


12. Are you a sole proprietor                 jil No. Go to Part 4.
   of any full- or part-time
   business?                                  D Yes. Name and lo ;ation of business
    A sole proprietorship is a ,
    business you operate as an
                                                        Name of business, if any
    individual, and is not a
    separate legal entity such as
  , a corporation, partnership, or
                                                        Number        Street
    LLC.
   If you have more than one
   sole proprietorship, use a
   separate sheet and attach it
   to this petition.
                                                         City                                                   State       ZIP Code



                                                        Check the appropriate box to describe your business:

                                                        0   Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                                        0   Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                                        0   Stockbroker (as defined in 11 U.S.C. § 101 (53A))

                                                        0   Commodity Broker (as defined in 11 U.S.C. § 101 (6))

                                                        0   None of the above


13. Are you filing under                      If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
    Chapter 11 of the                         can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
    Bankruptcy Code and                       most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
                                              any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(8).
    are you a small business
    debtor?
                                              ~ No. I am !"',ct filing under Chapter 11.
    For a definition of small
    business debtor, see                      0    No. I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
    11 u.s.c. § 101 (510).                             the Bankruptcy Code.

                                              0    Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                        Bankruptcy Code.


            Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


14. Do you own or have any                ~No
    property that poses or is
    alleged to pose a threat                   0   Yes. What is the hazard?
    of imminent and
    identifiable hazard to
    public health or safety?
  , Or do you own any
    property that needs                                  If immediate attention is needed, why is it needed? _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
    immediate attention?
   For example, do you own
   perishable goods, or livestock
   that must be fed, or a building
   that needs urgent repairs?
                                                         Where is the property? _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                                   Number        Street




                                                                                   City                                          State      ZIP Code


  Official Form 101                                      Voluntary Petition for Individuals Filing for Bankruptcy                                   page4
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Debtor 1     Verlene
             First Name     Middle Name
                                                           King
                                                     Last Name
                                                                                                        Case number (if known),_ _ _ _ _ _ _ _ _ _ _ _ _ __




           Explain Your Efforts to Receive a Briefing About Credit Counseling
                                                                                                               .                     .      .   ...             .   :-:   '



15. Tell the court whether
                                          About Qebtor     1:                                                About Debtor 2 (Spouse Only in a Joint Case):

   you have received a
   briefing about credit                  You must check one:                                                You must check one:
   counseling.
                                          D I received a briefing from an approved credit                    D     I received a briefing from an approved credit
                                              counseling agency within the 180 days before I                       counseling agency within the 180 days before I
   The law requires that you                  filed this bankruptcy petition, and I received a                     filed this bankruptcy petition, and I received a
   receive a briefing about credit         ·· certificate of completion.                                           certificate of completion.
   counseling before you file for
                                              Attach a copy of the certificate and the payment                     Attach a copy of the certificate and the payment
   bankruptcy. You must
                                              plan, if any, that you developed with the agency.                    plan, if any, that you developed with the agency.
   truthfully check one of the
   following choices. If you
   cannot do so, you are not
                                          ii Icounseling
                                               received a briefing from an approved credit
                                                          agency within the 180 days before I
                                                                                                             D     I received a briefing from an approved credit
                                                                                                                   counseling agency within the 180 days before I
   eligible to file.                          flied this bankruptcy petition, but I do not have a                  filed this bankruptcy petition, but I do not have a
                                              certificate of completion.                                           certificate of completion.
   If you file anyway, the court              Within 14 days after you file this bankruptcy petition,              Within 14 days after you file this bankruptcy petition,
   can dismiss your case, you
                                              you MUST file a copy of the certificate and payment                  you MUST file a copy of the certificate and payment
   will lose whatever filing fee                                                                                   plan, if any.
                                              plan, if any.
   you paid, and your creditors
   can begin collection activities        D    I certify that I asked for credit counseling                  D     I certify that I asked for credit counseling
   again.                                     ·services from an approved agency, but was                           services from an approved agency, but was
                                               unable to obtain those services during the 7                        unable to obtain those services during the 7
                                               days after I made my request, and exigent                           days after 1·made my request, and exigent
                                               circumstances merit a 30-day temporary waiver                       circumstances merit a 30-day temporary waiver
                                               of the requirement.                                                 of the requirement.

                                              To ask fo_,. a 30-day temporary waiver of the                        To ask for a 30-day temporary waiver of the
                                              requirement, attach a separate sheet explaining                      requirement, attach a separate sheet explaining
                                              what efforts you made to obtain the briefing, why                    what efforts you made to obtain the briefing, why
                                              you were unable to obtain it before you filed for                    you were unable to obtain it before you filed for
                                              bankruptcy, and what exigent circumstances                           bankruptcy, and what exigent circumstances
                                              required you to file this case.                                      required you to file this case.

                                              Your case may be dismissed if the court is                           Your case may be dismissed if the court is
                                              dissatisfied with your reasons for not receiving a                   dissatisfied with your reasons for not receiving a
                                              briefing before you filed .for bankruptcy.                           briefing before you filed for bankruptcy.
                                              If the court is satisfied with your reasons, you must                If the court is satisfied with your reasons, you must
                                              still receive a briefing within 30 days after you file.              still receive a briefing within 30 days after you file.
                                              You must file a certificate from the approved                        You must file a certificate from the approved
                                              agency, along with a copy of the payment plan you                    agency, along with a copy of the payment plan you
                                              developed, if any. If you do not do so, your case                    developed, if any. If you do not do so, your case
                                              may be dismissed.                                                    may be dismissed.
                                              Any extension of the 30-day deadline is granted                      Any extension of the 30-day deadline is granted
                                              only for cause and is limited to a maximum of 15                     only for cause and is limited to a maximum of 15
                                              days.                                                                days.

                                          D   I am not required to receive a briefing about                  D I am not required to receive a briefing about
                                              credit counseling because of:                                        credit counseling because of:

                                              D   Incapacity.    I have a mental illness or a mental               D   Incapacity.       I have a mental illness or a mental
                                                                 deficiency that makes me                                                deficiency that makes me
                                                                 incapable of realizing or making                                        incapable of realizing or making
                                                                 rational decisions about finances.                                      rational decisions about finances.
                                              D   Disability.    My physical disability causes me                  D   Disability.       My physical disability causes me
                                                                 to be unable to participate in a                                        to be unable to participate in a
                                                                 'xiefing in person, by phone, or                                        briefing in person, by phone, or
                                                                 through the internet, even after I                                      through the internet, even after I
                                                                 reasonably tried to do so.                                              reasonably tried to do so.
                                              D   Active duty. I am currently on active military                   D   Active duty. I am currently on active military
                                                               duty in a military combat zone.                                      duty in a military combat zone.
                                              If you believe you are not required to receive a                     If you believe you are not required to receive a
                                              briefing about credit counseling, you must file a                    briefing about credit counseling, you must file a
                                              motion.for waiver of credit counseling with the court.               motion for waiver of credit counseling with the court.
                                                                                                                                                      ',




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Debtor 1      Verlene
              First Name   Middle Name
                                                  ·
                                                      Last Name
                                                                  Kjng                                    Case number (if known),_ _ _ _ _ _ _ _ _ _ _ _ __




           Answer These Questions for Reporting Purposes

                                         16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101 (8)
1s. What kind of debts do                     as "incurred by an individual primarily for a personal, family, or household purpose."
    you have?
                                              D   No. Go to line 16b.
                                              ~ Yes. Go to line 17.
                                         16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                              money for a busir,ess or investment or through the operation of the business or investment.

                                              0   No. ·Go to line 16c.
                                              D   Yes. Go to line 17.

                                         16c. State the type of debts you owe that are not consumer debts or business debts.



11. Are you filing under
    Chapter7?                        )fJ     No. I am not filing under Chapter 7. Go to line 18.

    Do you estimate that after           D Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
    any exempt property is                        administrative expenses are paid that funds will be available to distribute to unsecured creditors?
    excluded and                                  D      No
    administrative expenses
    are paid that funds will be                   D      Yes
  · available for distribution
    to unsecured creditors?

18. How many creditors do                ~ 1-49                                       D   1,000-5,ooo                             D   25,001-50,000
   you estimate that you                 D   50-99                                    D   5,001-10,000                            D   50,001-100,000
   owe?                                  D   100-199                                  D   10,001-25,ooo                           D   More than 100,000
                                         D   200-999

19. How much do you                      D   $0-$50,000                               D   $1,000,001-$10 million                  D   $500,000,001-$1 billion
   estimate your assets to               D   $50,001-$100,000                         D   $10,000,001-$50 million                 D   $1,000,000,001-$10 billion
   be worth?                             D   $100,001-$500,000                        D   $50,000,001-$100 million                D   $10,000,000,001-$50 billion
                                         lj $500,001-$1 milliqn_ _ _ _ _D_$_10_0_,o_o_o_,0_01_-_$5_o_o_m_i_lli_on_ _ _ _D_M_o_re_th_a_n_$5_o_b_il_lio_n_ _ _ __
20. How much do you                      D   $0-$50,000-                              D   $1,000,001-$1 O million                 D $500,000,001-$1 billion
   estimate your liabilities             D   $50,001-$100,000                         D   $10,000,001-$50 million                 D $1,000,000,001-$1 O billion
   to be?                                D   $100,001-$500,000                        D   $50,000,001-$100 million                D $10,000,000,001-$50 billion
                                         ~ $500,001-$1 million                        D   $100,000,001-$500 million               D More than $50 billion
•@•I       Sign Below

                                         I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                                  correct.

                                         If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11, 12, or 13
                                         of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                         under Chapter 7.

                                         If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                         this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                         I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                         I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                         with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                         18 U.S.C. §§ 152, 1341, 1519, and 3571.

                                                                                                             X
                                         Xs~~~;,<~                                                                  Signature of Debtor 2

                                           one}f> 01 Zo/ ,
                                             Executed                                                               Executed on _ _ _ _ _ __
                                                                  MM   / DD   /YYYY                                              MM/ DD      /YYYY
===============================,======================
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               Verlene                                King
Debtor 1                                                                                       Case number ( f f / m o w n ~ - - - - - - - - - - - - -
              First Name   Middle Name           Last Name



==o==•:•========::,:mx1============·'"":::::·:i:::r-======··2,=a:::·===,,,,===============
 For you if you are filing this          The law allows you, as an individual, to represent yourself in bankruptcy court, but you
 bankruptcy without an                   should understand that many people find it extremely difficult to represent
 attorney                                themselves successfully. Because bankruptcy has long-term financial and legal
                                         consequences, you are strongly urged to hire a qualified attorney.
If you are represented by
an attorney, you do not                  To be successful, you must correctly file and handle your bankruptcy case. The rules are very
need to file this page.                  technical, and a mistake or inaction may affect your rights. For example, your case may be .
                                         dismissed because you did not file a required document, pay a fee on time, attend a meeting or
                                         hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
                                         firm if your case is selected for audit. If that happens, you could lose your right to file another
                                         case, or you may lose protections, including the benefit of the automatic stay.

                                         You must list all your property and debts in the schedules that you are required to file with the
                                         court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
                                         in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
                                         property or properly claim it as exempt, you may not be able to keep the property. The judge can
                                         also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
                                         case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
                                         cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
                                         Bankruptcy fraud is a serious crime; you could be fined and imprisone'd.

                                         If you decide to file without an attorney, the court expects you to follow the rules as if you had
                                         hired an attorney:. The court will n~t treat you differently because you are filing for yourself. To be
                                         successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
                                         Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
                                         be familiar with any state exemption laws that apply.

                                         Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
                                         consequences?
                                         D     No
                                         ~ Yes
                                         Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
                                         inaccurate or incomplete, you could be fined or imprisoned?
                                         D     No
                                         ~ Yes
                                         Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
                                         jl    No
                                         ~El   Yes. Name of Person_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _.
                                                    Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).


                                                                                                                                             1.
                                         By signing here, I acknowledge that I understand the risks involved in filing without an attorney. I
                                         have read and understood this notice, and I am aware that filing a bankruptcy case without an
                                         attorney may cause·me to lose my rights or property if I do not properly handle the case.




                                          Signature of Debior 1                                                            q
                                                                                                        Signature of Debtor 2

                                         Date                04/09/2018
                                                             MM/ DD   /YYYY
                                                                                                        Date            o~O I
                                                                                                                         MM/
                                                                                                                                      Zol g
                                                                                                                                DD /YYYY

                                         Contact phone       _7_1_8_-_9_3_0_-_3_0_6_4_____              Contact phone

                                         Cell phone                                                     Cell phone
                                                             best4802@aol.com
                                         Email address                                                  Email address

                                                                                                                                                    ····=
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 4•
,.,-.
                                                UNITED STATES BANKRUPTCY COURT
                                                 EASTERN DISTRICT OF NEW YORK
                                                        www .nyeb.uscourts.gov

                                                   STATEMENT PURSUANT TO LOCAL
                                                     BANKRUPTCY RULE 1073-2(b)



                               Verlene           King
        DEBTOR(S):_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ CASE NO.: _ _ _ _ __

                 Pursuant to Local Bankruptcy Rule 1073-2(b), the debtor (or any other petitioner) hereby makes the following disclosure
        concerning Related Cases, to the petitioner's best knowledge, information and belief:

        [NOTE: Cases shall be deemed "Related Cases" for purposes ofE.D.N.Y. LBR 1073-1 and E.D.N.Y. LBR 1073-2 if the earlier case
        was pending at any time within eight years before the filing of the new petition, and the debtors in such cases: (i) are the same;
        (ii) are spouses or ex-spouses; (iii) are affiliates, as defined in 11 U.S.C. § 101(2); (iv) are general partners in the same partnership;
        (v) are a partnership and one or more of its general partners; (vi) are partnerships which share one or more common general partners;
        or (vii) have, or within 180 days of the commencement of either of the Related Cases had, an interest in property that was or is
        included in the property of another estate under 11 U.S.C. § 54 l(a).]


        xJ   NO RELATED CASE IS PENDING OR HAS BEEN PENDING AT ANY TIME.

        D THE FOLLOWING RELATED CASE(S) IS PENDING OR HAS BEEN PENDING:

        1. CASE NO.: _ _ _ _ _ _ JUDGE: _ _ _ _ _ _ _ _ _ _ DISTRICT/DIVISION: _ _ _ _ _ __

        CASE STILL PENDING: (YES/NO): _ _ _ [If closed] Date of closing: _ _ _ _ _ _ _ __

        CURRENT STATUS OF RELATED CASE: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                        (Discharged/awaiting discharge, confirmed, dismissed, etc.)

        MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above): _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

        REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE "A" ('REAL PROPERTY') WHICH WAS ALSO LISTED IN
        SCHEDULE "A" OF RELATED CASES: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __



        2. CASE NO.: _ _ _ _ _ __ JUDGE:
                                                           - - - - - - - - - - DISTRICT/DIVISION: - - - - - - - -
        CASE STILL PENDING: (YES/NO): _ _ _ [If closed] Date of closing: _ _ _ _ _ _ _ __

        CURRENT STATUS OF RELATED CASE: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                        (Discharged/awaiting discharge, confirmed, dismissed, etc.)

        MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above): _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

        REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE "A" ('REAL PROPERTY') WHICH WAS ALSO LISTED IN
        SCHEDULE "A" OF RELATED CASES: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
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r
                                                                              [OVER]

         DISCLOSURE OF RELATED CASES (cont'd)


         3. CASE NO.: _ _ _ _ __                     JUDGE:
                                                               - - - - - - - - - - DISTRICT/DIVISION: - - - - - - - - -
         CASE STILL PENDING: (YES/NO): _ __                           [If closed] Date of closing: _ _ _ _ _ _ _ __

         CURRENT STATUS OF RELATED CASE: - , : - : - - - , - - - - : - - - - - : : - : - - - - , : - : - - - : - - - - - , - - - - - - - - - - - - - - - - -
                                          (Discharged/awaiting discharge, confirmed, dismissed, etc.)

         MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above): _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

         REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE "A" ('REAL PROPERTY') WHICH WAS ALSO LISTED IN
         SCHEDULE "A" OF RELATED CASES:




         NOTE: Pursuant to 11 U.S.C. § 109(g), certain individuals who have had prior cases dismissed within the preceding 180 days
         may not be eligible to be debtors. Such an individual will be required to file a statement in support of his/her eligibility to file.


         TO BE COMPLETED BY DEBTOR/PETITIONER'S ATTORNEY, AS APPLICABLE:

         I am admitted to practice in the Eastern District of New York (YIN): _ __

         CERTIFICATION (to be signed by pro-se debtor/petitioner or debtor/petitioner's attorney, as applicable):

         I certify under penalty of perjury that the within bankruptcy case is not related to any case now pending or pending at any
         time, except as indicated elsewhere on this form.



         Signature of Debtor's Attorney


                                                                                           Mailing Address of Debtor/Petitioner


                                                                                           City, State, Zip Code


                                                                                           -Email Address


                                                                                            Area Code and Telephone Number


         Failure to fully and truthfully provide all information required by the E.D.N.Y. LBR 1073-2 Statement may subject the debtor
         or any other petitioner and their attorney to appropriate sanctions, including without limitation conversion, the appointment
         of a trustee or the dismissal of the case with prejudice.

         NOTE: Any change in address must be reported to the Court immediately IN WRITING. Dismissal of your petition may
         otherwise result.
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 UNITED STATES BANKRUPTCY COURT
 EASTERN DISTRICT OF NEW YORK
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ifi11~: fli!lj:fff(   OP MEH YORIC, SUCCESSOR,E'.f Ji                           Case No.
 VERLENE KING, GLORIA BEST, ET. AL,.                                            Chapteq 13

                                             Debtor(s)
 -----------------------------------------------------------x

                                      DECLARATION OF PRO SE DEBTOR{S}
 All individuals filing for bankruptcy prose (without an attorney), must provide the following information:

 Name ofDebtor(s): Verlene King, Gloria Best, Brooklyn Union Gass/Kespan

 Address:                   163 Adelphi Street, Brooklyn, New York 11205
 Email Address:
 Phone Number:               ( 71 B    ) 930 3064


 CHECK THE APPROPRIATE RESPONSES:
 FILING FEE:
            PAID THE FILING FEE IN FULL
       X   APPLIED FOR INSTALLMENT PAYMENTS OR WAIVER OF THE FILING FEE

 PREVIOUS CASES FILED: I. 04/20/2016                                 2. - - - - - - - 3. - - - - - - -

 ASSISTANCE WITH PAPERWORK:
           . NO ASSISTANCE WITH PREPARATION OF/FILING PETITION AND SCHEDULES
     _x,__ HAD ASSISTANCE WITH PREPARATION OF/FILING PETITION AND SCHEDULES


 If Debtor had assistance, the following information must be completed:
        Name of individual who assisted:       Gloria Best

            Address:                                   163 Adelphi Street. Brooklyn, N.Y.11205
            Phone Number:                             ( 347        ) 247 909B
            Amount Paid for Assistance:               $          0. 00


 I/We hereby declare the information above under the penalty of perjury.




                                                                         Joint Debtor's Signature
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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
------------------------------------------------------------x

In re:                                                                       Case No.
                                                                             Chapter

                                            Debtor(s)
-----------------------------------------------------------x

                                            AFFIRMATION OF FILER(S)
All individuals filing a bankruptcy petition on behalf of a pro se debtor(s ), must provide the follo-wing
information:

Name of Filer:
Address:
Email Address:
Phone Number:             ql'ii 93(), 30                         b L/-
Name ofDebtor(s):         ---'--'v                    E~-
                                       ~=-II--~-+-->,,,,\g._...__.__(\J_C~-L<_\_N_]___c;--'--"-)Dl,J fr t3 rs[
CHECK THE APPROPRIATE RESPONSES:
              CE PROVIDED TO DEBTOR S :

         I PREPARED THE PETITION AND/ RA SIS TE~ WITH THE p APERWORK BY DOING ~                              I .
         THE FOLLOWING: ---------,j~'------l.o:~-=----*---~~.-H--",-,...Z~-----.v:~-'<---+-1-/ V~



         I DID NOT PROVIDE THE PAPERWORK OR ASSIST WITH COMPLETING THE FORMS.


            EIVED:
         I WAS NOT PAID.


         IWAS PAID.
                          Amount Paid: $ - - - - - -


I/We hereby affirm the information above under the penalty of perjury.



Dated:·    er- I a - I~
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                     UNITED STATES BANKRUPTCY COURT
                      .EASTERN DISTRICT OF NEW YORK


----------------------------------------------------x
In Re: Verlene King                                                           Case No.

                                                                              Chapter 13




                              Debtor(s)
----------------------------------------------------x



     VERIFICATION OF CREDITOR MATRIX/LIST OF CREDITORS



               The undersigned debtor(s) or attorney for the debtor(s) hereby verifies that the
creditor matrix/list of creditors submitted herein is true and correct to the best of his or her
knowledge.


                                              .)




                                                    · Debtor



                                                        Joint Debtor


                                                        sf
                                                        Attorney for Debtor




USBC-44                                                                                     Rev.11/15
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Ameriquest
10801 6th Street
Rancho Cucamonga Ca 91730

Consolidated Edsion Company Of New York
4 Irvin Place
New York NY 10003

The Bank Of New York Mellon
1 Wall Street
New York NY 10286
